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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
ELECTRONIC PRIVACY INFORMATION )
CENTER,                                 )
                                        )
                  Plaintiff,            )
                                        )
      v.                               )     Civil Action No. 19-810 (RBW)
                                       )
UNITED STATES DEPARTMENT OF            )
JUSTICE,                               )
                                       )
                  Defendant.           )
_______________________________________)
                                       )
JASON LEOPOLD &                        )
BUZZFEED, INC.,                        )
                                       )
                  Plaintiffs,          )
                                       )
      v.                               )     Civil Action No. 19-957 (RBW)
                                       )
UNITED STATES DEPARTMENT OF            )
JUSTICE, et al.,                        )
                                        )
                  Defendants.          )
_______________________________________)

                                            ORDER

       In accordance with the Court’s oral rulings issued at the status conference held on the

May 2, 2019, it is hereby

       ORDERED that, on or before May 6, 2019, the defendant shall produce to the plaintiffs

a redacted copy of Special Counsel Mueller’s report regarding the investigation into Russian

interference in the 2016 United States presidential election with the appropriate exemption

markings under the Freedom of Information Act. It is further
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          ORDERED that the parties’ obligation to submit a statement of material facts with their

respective motions for summary judgment under Local Civil Rule 7(h)(1) is WAIVED. It is

further

          ORDERED that the defendant shall file its motion for summary judgment on or before

June 3, 2019. 1 It is further

          ORDERED that the Electronic Privacy Information Center’s request that the defendant

submit, for in camera review, the original, unredacted version of the Special Counsel Mueller’s

report regarding the investigation into Russian interference in the 2016 United States presidential

election with the filing of its motion for summary judgment is DENIED WITHOUT

PREJUDICE. It is further

          ORDERED that the plaintiffs shall file their opposition to the defendant’s motion and

any cross-motion for summary judgment on or before June 24, 2019. It is further

          ORDERED that the defendant shall file its combined reply in support of its motion and

opposition to any cross-motion on or before July 8, 2019. It is further

          ORDERED that the plaintiffs shall file their reply in support of any cross-motion on or

before July 15, 2019. It is further

          ORDERED that the parties shall appear for a status conference on August 5, 2019, at

10:00 a.m. for a hearing on the parties’ cross-motions for summary judgment. It is further




1
  The Court notes that the defendant’s motion for summary judgment and any cross-motion filed by the plaintiffs
pertain only to the plaintiffs’ request for Special Counsel Mueller’s report regarding the investigation into Russian
interference in the 2016 United States presidential election. The Court will address summary judgment briefing
regarding the additional documents sought by Electronic Privacy Information Center at a later date.

                                                           2
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         ORDERED that, on or before June 3, 2019, the defendant shall produce all non-exempt

records responsive to Category 5 of the Electronic Privacy Information Center’s FOIA request. 2

It is further

         ORDERED that, on or before June 17, 2019, the parties shall submit a joint status report

regarding how the case shall proceed with respect to the additional documents sought by the

Electronic Privacy Information Center. It is further

         ORDERED that the parties shall appear for a status conference on July 2, 2019, at 10:00

a.m., in order to propose a production schedule to the Court for the additional documents sought

by the Electronic Privacy Information Center.

         SO ORDERED this 3rd day of May, 2019.


                                                                        REGGIE B. WALTON
                                                                        United States District Judge




2
 Category 5 of the Electronic Privacy Information Center’s FOIA request seeks the release of all referrals by the
Special Counsel, Attorney General, or Acting Attorney General, including “[a]ll [] outlines, exhibits, and supporting
materials associated with any actual or planned referral, for ‘administrative remedies, civil sanctions or other
governmental action outside the criminal justice system’ under 28 C.F.R. § 600.4(c), whether or not such records
were actually transmitted to any party outside of the Special Counsel’s Office.” Compl. ¶ 43, Electronic Privacy
Information Center v. U.S. Dep’t of Justice, Civ. Action No. 19-810.

                                                          3
